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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                   CRIMINAL NO. 1:06CR82
                                                 (Judge Keeley)

 DARRELL RIFFLE,

                   Defendant.

            ORDER ADOPTING MAGISTRATE JUDGE'S RECOMMENDATION
                 THAT DEFENDANT'S GUILTY PLEA BE ACCEPTED

       On May 29, 2007, defendant, Darrell Riffle, appeared before

 United States Magistrate Judge John S. Kaull and moved this Court

 for permission to enter a plea of GUILTY to Count Nine of the

 Indictment. The defendant stated that he understood that the

 magistrate    judge   is    not   a   United   States   District   Judge,     and

 consented to pleading before the magistrate judge.             This Court had

 referred the guilty plea to the magistrate judge for the purposes
 of   administering    the    allocution    pursuant     to   Federal   Rule    of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and the testimony of Sergeant Brian Purkey, the magistrate judge

 found that the defendant was competent to enter a plea, that the

 plea was freely and voluntarily given, that the defendant was aware

 of the nature of the charges against him and the consequences of

 his plea, and that a factual basis existed for the tendered plea.

 On May 31, 2007, the magistrate judge entered an order finding a
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 factual basis for the plea and recommended that this Court accept

 the plea of guilty to Count Nine of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.               Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 ADOPTED and ACCEPTS the plea of guilty to Count Nine of the

 Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 Count Nine.     Pursuant to Fed. R. Crim. P. 11(c)(3)(A) and U.S.S.G.

 §   6B1.1(c),      acceptance    of    the    proposed   plea   agreement   and

 stipulated addendum to the plea agreement, is             DEFERRED until the

 Court has received and reviewed the presentence report prepared in

 this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

       1.     The     Probation        Officer    undertake      a   presentence

 investigation of DARRELL RIFFLE and prepare a presentence report

 for the Court;




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       2.     The Government and the defendant are to provide their

 versions of the offense to the Probation Officer by June 27, 2007;

       3.     The   presentence       report    is    to   be    disclosed      to   the

 defendant, defense counsel, and the United States on or before

 July 30, 2007; however, the Probation Officer is directed not to

 disclose     the       sentencing     recommendations          made     pursuant    to

 Fed. R. Crim. P. 32(b)(6)(A);

       4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

 report     and   may    file    a   SENTENCING      MEMORANDUM        that   evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 August 13, 2007;

       5.     The Probation Officer shall submit to the Court the

 presentence report with addendum on or before August 27, 2007; and

       6.     Sentencing will be set by further Order of the Court.

       7.     The   Court       continued   defendant's         unsecured     personal

 recognizance bond in order to ensure his appearance before this

 Court at such times and places as the Court may direct with the

 standard conditions of bond.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: June 19, 2007



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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